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                           IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                    PHILADELPHIA DIVISION

      In re: HOLLY L. FRY                  )
              Debtor                       )
                                           )                   CHAPTER 13
      AMERICREDIT FINANCIAL SERVICES, INC. )
      dba GM FINANCIAL                     )                   Case No.: 20-12728 (MDC)
            Moving Party                   )
                                           )                   Hearing Date: 9-15-20 at 10:30 AM
         v.                                )
                                           )
      HOLLY L. FRY                         )                   11 U.S.C. 362
       THOMAS J. FARRELL                   )
            Respondent                     )                   11 U.S.C. 1301
                                           )
      WILLIAM C. MILLER                    )
            Trustee                        )
                                           )
                                           )
        MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND CO-DEBTOR STAY

      TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

             Comes now AmeriCredit Financial Services, Inc., dba GM Financial (“GM Financial”)
      filing this its Motion For Relief From The Automatic Stay And Co-Debtor Stay (“Motion”), and
      in support thereof, would respectfully show:

             1. That on June 22, 2020, Holly L. Fry filed a voluntary petition under Chapter 13 of the
      Bankruptcy Code.

             2. This Court has jurisdiction of the Motion by virtue of 11 U.S.C. 105, 361, 362, 1301
      and 28 U.S.C. 157 and 1334.
             3. On October 31, 2016, the debtor and the co-debtor Thomas J. Farrell entered into a
      retail installment contract for the purchase of a 2016 Dodge Journey bearing vehicle
      identification number 3C4PDCAB0GT128238. The contract was assigned to AmeriCredit
      Financial Services, Inc. and the debtors became indebted to AmeriCredit in accordance with the
      terms of same. AmeriCredit Financial Services is designated as first lien holder on the title to the
      vehicle and holds a first purchase money security interest in the vehicle. AmeriCredit Financial


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      Services now does business as GM Financial. A true copy of the contract and title inquiry to the
      vehicle are annexed hereto as Exhibits A and B.
              4. As of August 5, 2020, the Debtor’s account with GM Financial had a net loan balance
      of $28,427.80.
              5. According to the August 2020 NADA Official Used Car Guide, the vehicle has a
      current retail value of $11,300.00.
              6. The Debtor’s account is past due post-petition from July 15, 2020 to August 15, 2020
      with arrears in the amount of $472.61.
              7. The Debtor’s account is contractually past due in the amount of $14,951.37.
              8. GM Financial alleges that the automatic stay and co-debtor stay should be lifted for
      cause under 11 U.S.C. 362(d)(1) and 11 U.S.C. 1301 in that GM Financial lacks adequate
      protection of its interest in the vehicle as evidenced by the following:
                       (a) The Debtor is failing to make payments to GM Financial and is failing to
              provide GM Financial with adequate protection.


              WHEREFORE PREMISES CONSIDERED, GM Financial respectfully requests that
      upon final hearing of this Motion, (1) the automatic stay will be terminated as to GM Financial to
      permit GM Financial to seek its statutory and other available remedies; (2) that the co-debtor
      stay will be terminated as to GM Financial to permit GM Financial to seek its statutory and other
      available remedies; (3) that the stay and co-debtor stay terminate upon entry of this Order
      pursuant to the authority granted by Fed.R.Bank.P., Rule 4001(a)(3) and (4) GM Financial be
      granted such other and further relief as is just.


      Respectfully submitted,

      /s/ William E. Craig
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      dba GM Financial


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